          Case 8:22-bk-10948-SC                   Doc 73 Filed 06/17/22 Entered 06/17/22 16:05:04                                       Desc
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 Attorney or Party Name, Address, Telephone &
                                                                             FOR COURT USE ONLY
 FAX Nos
 RON BENDER (SBN 143364)
 KRIKOR J. MESHEFEJIAN (SBN 255030)
 LINDSEY L. SMITH (SBN 265401)                                                                           FILED & ENTERED
 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK
 L.L.P.
 2818 La Cienega Avenue
 Los Angeles, California 90034
                                                                                                                 JUN 17 2022
 Telephone: (310) 229-1234
 Facsimile: (310) 229-1244                                                                                 CLERK U.S. BANKRUPTCY COURT
 Email: rb@lnbyg.com; kjm@lnbyg.com;                                                                       Central District of California
                                                                                                           BY mccall     DEPUTY CLERK
 lls@lnbyg.com


                                                                                                CHANGES MADE BY COURT


     Individual appearing without attorney
     Attorney for: Debtors and Debtors in Possession
                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA – SATNA ANA DIVISION

 In re:                                                                      LEAD CASE NO.: 8:22-bk-10948-SC

                                                                             Jointly administered with: 8:22-bk-10949-SC
 TRX HOLDCO, LLC, a Delaware limited liability
 company,                                                                    CHAPTER: 11

              Debtor and Debtor in Possession.
 ___________________________________________
 In re:

 FITNESS ANYWHERE LLC, a Delaware limited liability
 company,                                                                    ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
              Debtor and Debtor in Possession.                                      HEARING ON SHORTENED NOTICE
 ____________________________________________
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
    Affects both Debtors                                                            NOTICE
                                                                                             [LBR 9075-1(b)]
    Affects TRX Holdco, LLC only

    Affects Fitness Anywhere, LLC only



 Movants (name): TRX            Holdco, LLC and Fitness Anywhere LLC, Chapter 11 debtors and debtors in
 possession


1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Debtors’ Motion For Entry Of An Order Authorizing Rejection Of Separation And Release Of
    Claims Agreement With John Hutchinson
          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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    b. Date of filing of motion: June 17, 2022

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: June 17, 2022

3. Based upon the court’s review of the application, it is ordered that:

    a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.         The Application is granted, and it is further ordered that:

         (1)     A hearing on the motion will take place as follows:

                Hearing date: June 24, 2022
                                                             Place:
                Time: 10:00 a.m. (Pacific Time)
                                                                 411 West Fourth Street, Santa ana, CA 92701
                Courtroom: 5c

                      • Via Zoom

         (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                     persons/entities listed:


                (A) Deadlines:                          (B) Persons/entities to be provided with telephonic notice:
                Date: 6/17/22
                                                        The counterparty to the contract affected by the Motion.
                Time:


                                                                 See attached page
                                                        (C) Telephonic notice is also required upon the United States trustee


         (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                     served upon all persons/entities listed using:       one of the methods checked         all of the
                     methods checked

               (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                          (C) Persons/entities to be served with written notice and a copy of this
                                                            order:
                Date: June 18, 2021
                                                           Any secured creditors, the twenty largest general unsecured creditors of
                Time: 5:00 p.m. Pacific Time*             each of the Debtors, and the counterparty to the contract affected by the
                                                          Motion.



                                                                 See attached page
                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s copy
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(4)        No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any), must
be served on all persons/entities listed using:               one of the methods checked       all of the methods
checked
           (A)       Personal Delivery         Overnight Mail      First Class Mail        Facsimile*         Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: June 18, 2021                    documents:
                                                          The counterparty to the contract affected by the Motion.
                    Time: 5:00 p.m. Pacific
                    Time*



                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy


        (5)          Regarding opposition to the motion

                     opposition to the motion may be made orally at the hearing

                     no later than the deadlines given, written opposition to the motion must be filed with the court and
                     served upon all persons/entities listed using:     one of the methods checked           all of the methods
                     checked
              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date: 6/22/22                          -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:
                                                        All interested parties



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy—emailed to Chambers_MBarash@cacb.uscourts.gov


        (6)          Regarding a reply to an opposition:

                     a reply to opposition may be made orally at the hearing.

                     no later than the deadlines given, a written reply to an opposition must be filed with the court and
                     served on all persons/entities listed using:        one of the methods checked           all of the methods
                     checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines:                          (C) Persons/entities to be served with written reply to opposition:
                 Date:                                      -- All persons/entities who filed a written opposition

                 Time:



                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s copy—emailed to Chambers_MBarash@cacb.uscourts.gov


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: June 17, 2022




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